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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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KATHERINE J. LEE,

                             Plaintiff,

              vs.                                          5:03-CV-1329; 5:06-CV-949

CITY OF SYRACUSE,

                             Defendant.

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APPEARANCES:                                       OF COUNSEL:

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CORPORATION COUNSEL                                MARY ANNE DOHERTY, ESQ.
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DAVID N. HURD
United States District Judge

                                             ORDER

I. INTRODUCTION

       In a March 19, 2012, Order, plaintiff was stayed from all efforts to enforce the

judgment entered in this action on July 16, 2010. Dkt. No. 247. This order also directed that

if defendant did not file a writ of certiorari, or if such a writ was denied, plaintiff was permitted

to file an application for reasonable attorneys' fees and costs related to defendant's appeal to
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the United States Court of Appeals for the Second Circuit and for post-judgment interest.

       On April 30, 2012, the United States Supreme Court denied defendant's petition for a

writ of certiorari. City of Syracuse v. Lee, 132 S. Ct. 2113 (2012). On May 3, 2012,

defendant issued two checks to cover the face amount of the judgment ($602,951.61).

       On May 21, 2012, plaintiff filed an application for attorneys' fees and costs pursuant to

42 U.S.C. §§ 1988 and 2000e-5(k). Dkt. No. 255. Defendant has opposed. Dkt. No. 258.

Also, defendant seeks an order canceling the supersedeas bond that had been secured in

the amount of the judgment entered on July 16, 2010. Dkt. No. 256. Plaintiff opposes this

request. Dkt. No. 257. Both applications were considered on submission without oral

argument.

II. STANDARD

       Costs other than attorneys' fees "should be allowed to the prevailing party." Fed. R.

Civ. P. 54(d). Pursuant to 42 U.S.C. §§ 1988 and 2000e-5(k), attorneys' fees may be

awarded to a prevailing party in, inter alia, civil rights and Title VII litigation as part of the

costs imposed.

       Attorneys' fees are awarded by determining a presumptively reasonable fee, reached

by multiplying a reasonable hourly rate by the number of reasonably expended hours. See

Simmons v. N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009). The reasonable hourly

rate should be "'what a reasonable, paying client would be willing to pay' given that such a

party wishes 'to spend the minimum necessary to litigate the case effectively.'" Id. (quoting

Arbor Hill Concerned Citizens Neighborhood Ass'n v. County of Albany, 493 F.3d 110, 112,

118 (2d Cir. 2007), amended on other grounds by 522 F.3d 182 (2d Cir. 2008)). This

Circuit's "forum rule" generally requires use of "the hourly rates employed in the district in

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which the reviewing court sits in calculating the presumptively reasonable fee." Id. (internal

quotation marks omitted).

       Until recently, the applicable rate for an experienced attorney in the Northern District

has been $210 per hour. See Picinich v. United Parcel Serv., No. 5:01-CV-1868, 2008 WL

1766746, at *2 (N.D.N.Y. Apr. 14, 2008) (McCurn, S.J.). However, the prevailing hourly rate

that a reasonable, paying client would be willing to pay in this district "is now higher than

$210." Luessenhop v. Clinton County, 558 F. Supp. 2d 247, 266 (N.D.N.Y. 2008) (Treece,

M.J.) (applying an hourly rate of $235). Therefore, a reasonable rate of $225 per hour for an

experienced attorney will be applied to reflect this gradual upward adjustment. Additionally, it

is customary in this district to allow only one-half the hourly rate for travel time. The

prevailing hourly rate for a paralegal is $80. Picinich, 2008 WL 1766746, at *2.

       Unnecessary and excessive hours must be eliminated, and attorneys' fees must be

limited to those claims in which the plaintiff achieved success. Hensley v. Eckerhart, 461

U.S. 424, 430, 103 S. Ct. 1933, 1938 (1983); Barfield v. N.Y.C. Health & Hosp. Corp., 537

F.3d 132, 152 (2d Cir. 2008).

III. DISCUSSION

       Plaintiff seeks attorneys' fees of $57,990.00 plus costs of $4084.74, for the total sum

of $62,074.74. This is based on 159.55 hours of legal services at $250 per hour, 6 hours of

travel at $125 per hour, and 173.8 hours of paralegal services at $100 per hour, for a total of

339.35 hours. Defendant asserts that plaintiff is seeking fees at an unreasonable rate, for

excessive hours and duplicative services, and provides vague explanations of the services

rendered. Defendant also requests a reduction based upon plaintiff's limited success on

appeal.

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          The submissions have been reviewed, and the above standards have been

applied. The Second Circuit affirmed the jury verdict and damages award in favor of plaintiff

and against defendant. Plaintiff is thus a "prevailing party." However, her cross-appeal was

unsuccessful. Plaintiff's submissions do not distinguish between the legal work performed in

opposition to defendant's appeal and in support of her cross-appeal. Therefore, her

attorney's and paralegal's hours must be reduced by a reasonable estimate (30%) to reflect

the legal work on the cross-appeal. The travel hours claimed are appropriate, and the costs

are reasonable. As a result, the following reasonable attorneys' fees, paralegal fees, travel,

and costs for the legal services related to the defendant's appeal are awarded:

          Attorneys' fees:        111.68 hours X                $225        =            $25,128.00

          Travel:                 6.0 hours          X          $112.50 =                $675.00

          Paralegal fees:         121.66 hours X                $80         =            $9732.80

          Costs:                                                            =            $4084.74

          Total:                                                            =            $39,620.54



          As noted, defendant has issued two checks in the total amount of $602,951.61—

$400,000.00 to plaintiff Katherine Lee and $202,951.61 to plaintiff's counsel.1 This amount

equals the total secured by the supersedeas bond that defendant established through the

Hanover Insurance Company on August 3, 2010.2 However, these payments are not a full


          1
               Although the checks are dated March 2, 2012, it is undisputed that they were not released to
  plaintiff's counsel until May 3, 2012.

         2
           Defendant seeks an order canceling two bonds— one for $202,951.61 and the other for
  $400,000.00. See Dkt. No. 256. However, only one bond was filed in this case, reflecting a total am ount of
  $602,951.61. See Dkt. No. 226 (Bond No. BJS-8807125). In fact, defendant only referenced one bond in its
                                                                                                  (continued...)

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satisfaction of the judgment entered on July 16, 2010. Post-judgment interest at the statutory

rate on the total amount of the judgment ($602,951.61) from July 16, 2010, to May 3, 2012,

is still owed to plaintiff pursuant to 28 U.S.C. § 1961(a).

           Therefore, it is

           ORDERED that

           1. Plaintiff is awarded additional attorneys' fees and costs in the total amount of

$39,620.54;

           2. The Clerk of the Court is directed to enter a supplemental judgment in favor of

the plaintiff Katherine J. Lee and against the defendant City of Syracuse in the amount of

$39,620.54;

           3. Defendant's request to cancel the supersedeas bond issued by the Hanover

Insurance Company (BJS-8807125) is GRANTED; and

           4. The March 19, 2012, Order is VACATED.

           IT IS SO ORDERED.




Dated: July 12, 2012
       Utica, New York.




       2
       (...continued)
  March 7, 2012, m otion for a tem porary restraining order. See Dkt. No. 241-2 (referencing Bond No. BJS-
  8807125).

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